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                       Exhibit J
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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


 EDDIE GRANT, JR., JENNIFER HAMILTON;                         CIV. NO. 3:22-cv-01223-JBA
 MICHAEL STIEFEL; CONNECTICUT
 CITIZENS DEFENSE LEAGUE, INC.; AND
 SECOND AMENDMENT FOUNDATION, INC.,

            Plaintiffs,

 v.                                                            SUPPLEMENTAL
                                                            DECLARATION OF EDDIE
 EDWARD M. LAMONT, JR., in his official capacity;           GRANT, JR. PURSUANT TO
 JAMES ROVELLA, in his official capacity; PATRICK               28 U.S.C. § 1746
 GRIFFIN, in his official capacity; MARGARET E.
 KELLY, in her official capacity; DAVID R.
 APPLEGATE, in his official capacity; JOSEPH T.
 CORRADINO, in his official capacity;
 SHARMESE L. WALCOTT, in her official capacity;
 DAVID R. SHANNON, in his official capacity;
 MICHAEL A. GAILOR, in his official capacity;
 CHRISTIAN WATSON, in his official capacity;
 JOHN P. DOYLE, JR., in his official capacity, PAUL
 J. NARDUCCI, in his official capacity; PAUL J.
 FERENCEK, in his official capacity; MATTHEW C.
 GEDANSKY, in his official capacity, MAUREEN
 PLATT, in her official capacity; ANNE F.
 MAHONEY, in her official capacity,

            Defendants.



       I, Eddie Grant, Jr., being duly sworn, deposes and says:

       1.       I am over 18 years of age and understand the obligations of an oath.

       2.       I am making this supplemental declaration pursuant to 28 U.S.C. § 1746, and I

understand that the same obligations that apply to statements made under oath apply to the

statements that I make herein.
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       3.      I am one of the individual Plaintiffs in Grant et al v. Lamont et al., 3:22-cv-01223-

JBA. I submit this supplemental declaration in further support of the Plaintiffs’ Amended

Motion for Preliminary Injunction in Grant v. Lamont.

       4.      I currently own firearms that are legally considered to be “others” – firearms

that are not rifles, pistols, or shotguns.

       5.      It has been my intention to acquire a .300 Blackout in a Connecticut “other”

configuration for quite some time. Specifically, it has pistol grips and fore grips.

       6.      On June 30, 2023, I contacted Lock N’ Load Firearms, LLC in Plantsville,

Connecticut to inquire about purchasing this firearms.

       7.      I was informed that Lock N’ Load Firearms, LLC could not sell me a .300

Blackout in a Connecticut “other” configuration because it is now considered to be illegal

“assault weapons” under Connecticut law.

       8.      I still intend to acquire a .300 Blackout in a Connecticut “other” configuration

and I want the ability to do so lawfully and without fear of criminal prosecution.

       9.      Further affiant sayeth not.
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       I, Eddie Gtant, Jr., declare under penalty of periury that the fotegoing is ffue and

coffect.
                                                                       (.

Executed onJ"ly 5,2423
                                                   trddie        Jr,




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